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                                       IN THE UNITED STATES DISTRICT COURT
                                          WESTERN DISTRICT OF ARKANSAS
                                              FAYETTEVILLE DIVISION

               UNITED STATES OF AMERICA                                       PLAINTIFF/RESPONDENT

                               v.
                                                  Criminal No. 10-50060-001

               RIGOBERTO CHAVEZ-CUEVAS                                       DEFENDANT/MOVANT


                          MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

                      On July 1, 2014, Defendant filed a pro se Motion to Compel Specific Performance (Doc.

               64). At the Court’s direction, the Government filed a Response on July 30, 2014 (Doc. 66). The

               undersigned, being well and sufficiently advised, finds and recommends as follows with respect

               thereto:

                      On August 30, 2010, Defendant pled guilty, pursuant to a written plea agreement (Doc.

               27), to conspiring to distribute more than 50 grams of a mixture or substance containing

               methamphetamine, in violation of 21 U.S.C. § § 841(a)(1), 841(b)(1)(B)(viii) and 846. Prior to

               Defendant’s sentencing hearing, the Government filed a motion for a downward departure

               pursuant to U.S.S.G. § 5K1.1, seeking a two-level reduction in Defendant’s offense level based

               upon Defendant’s substantial assistance leading to the indictment of two other individuals. (Doc.

               34.) The Court granted the 5K1.1 motion and, on January 21, 2011, a judgment was entered

               sentencing Defendant to 192 months imprisonment, 5 years supervised release (with deportation

               anticipated), a $40,000.00 fine, and a $100.00 special assessment. (Doc. 40.) The Eighth Circuit

               Court of Appeals affirmed Defendant’s sentence on August 16, 2011 (Doc. 56).




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                      On October 16, 2013, the Government filed a motion to reduce Defendant’s sentence

               pursuant to Rule 35 of the Federal Rules of Criminal Procedure. The Government moved for a

               three-level reduction, reducing Defendant’s sentence from 192 months to 135 months, based upon

               Defendant’s cooperation and assistance leading to the conviction of Arles Velasquez. (Doc. 58.)

               The Court granted the motion and, on October 29, 2013, entered an amended judgment reducing

               Defendant’s sentence to 135 months imprisonment. (Docs. 59, 60.)

                      In the motion now before the Court, Defendant asserts that the Government promised to

               move for a three-point reduction for his assistance against Miguel Ortega, and a three-point

               reduction for his assistance against Arlez Velasquez. Defendant asserts that he only received the

               two-point reduction and not the other three-point reduction and he seeks specific performance of

               the Government’s promise.

                      The undersigned sees no merit to Defendant’s motion. As the Government points out,

               the plea agreement specifically provided that the Government did not promise to file a 5K1.1

               motion or a Rule 35 motion (Doc. 27 ¶ 24). More importantly, the Government did, in fact,

               exactly what Defendant asserts it promised to do - - the Government filed two motions to reduce,

               resulting in a 5-level reduction in Defendant’s offense level. It appears that, perhaps, Defendant

               filed the instant motion because he did not receive a copy of the Government’s Rule 35 motion,

               the order granting it or a copy of the amended judgment reducing his sentence. The District

               Court Clerk is hereby directed to mail a copy of these documents (Docs. 58, 59, 60) to the

               Defendant.

                      Based on the foregoing the undersigned recommends that Defendant’s Motion to Compel

               Specific Performance (Doc. 64) be denied. The parties have fourteen days from receipt of


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               our report and recommendation in which to file written objections pursuant to 28 U.S.C.

               § 636(b)(1). The failure to file timely objections may result in waiver of the right to appeal

               questions of fact. The parties are reminded that objections must be both timely and specific

               to trigger de novo review by the district court.

                      DATED this 23rd day of September, 2014.



                                                                  /s/ Erin L. Setser
                                                                   HON. ERIN L. SETSER
                                                                   UNITED STATES MAGISTRATE JUDGE




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